                                         Case 4:07-cv-05944-JST Document 6057 Filed 08/23/22 Page 1 of 2




                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4   In re: CATHODE RAY TUBE                  ,           Case No. 4:07-cv-5944-JST
                                       (CRT) ANTITRUST
                                                    ,   LITIGATION
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  .                                         ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7                                            ,
                                                        .
                                   8
                                   9

                                  10          I, Christopher Bandas           , an active member in good standing of the bar of

                                  11    the State of Texas                    , hereby respectfully apply for admission to practice pro hac
  125791
                                  12   vice in the Northern District of California representing: Sean Hull                          in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Timothy Hanigan                   , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                         802 N. Carancahua, Suite 1400                     21550 Oxnard St., Suite 760
                                  16
                                       Corpus Christi, TX 78401                            Woodland Hills, CA 91367
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD
                                       361-698-5200                                         (818) 883-5644
                                  18
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19   cbandas@bandaslawfirm.com                            trhanigan@gmail.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 00787637
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26          I have been granted pro hac vice admission by the Court _0______ times in the 12 months
                                  27   preceding this application.
                                  28
                                          Case 4:07-cv-05944-JST Document 6057 Filed 08/23/22 Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 08/23/2022                                                Christopher Bandas
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Christopher Bandas                      is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
